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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,               No. Cr. S-09-380-05 WBS
13                 Plaintiff,

14        v.                                 ORDER
15   VALENTIN RAMIREZ-CARDINEZ,

16                 Defendant.

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18                                ----oo0oo----

19              Defendant Valentin Ramirez-Cardinez has filed a Motion

20   to Modify Sentence Pursuant To 18 U.S.C. § 3582(c)(2).            The

21   United States shall file its response within 30 days from the

22   date of this Order.    Defendant may file a reply within 20 days

23   after the filing of the United States’ response.         The motion will

24   then be taken under submission.

25              IT IS SO ORDERED.

26   Dated:    August 15, 2014

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